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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 June 19, 2019


 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 19-2174

                    Caption:
                    UNITED STATES OF AMERICA,
                    Plaintiff - Appellant

                    v.

                    ADEL DAOUD,
                    Defendant - Appellee


                    District Court No: 1:15-cr-00487-1
                    District Judge Sharon Johnson Coleman
                    Clerk/Agency Rep Thomas G. Bruton

                    Date NOA filed in District Court: 06/19/2019


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)
